                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                           )
D.V.D. et al,                              )
                                           )
             Plaintiffs,                   )
                                           )
                                           )
             v.                            )
                                                        Civil Action No. 1:25-cv-10676-BEM
                                           )
U.S. Department of Homeland Security et al )
Respondents,                               )
                                           )




                       SERVICE ORDER AND ORDER CONCERNING
                          DETERMINATION OF JURISDICTION

Murphy, D.J.

        Plaintiffs D.V.D. et al, a proposed class of people each under an immigration order of

removal, have filed a petition for a writ of habeas corpus. The proposed class members name

the U.S. Department of Homeland Security; Kristi Noem, Secretary, U.S. Department of

Homeland Security, in her official capacity; Pamela Bondi, U.S. Attorney General, in her

official capacity; and Antone Moniz, Superintendent, Plymouth County Correctional Facility,

in his official capacity, as respondents.

        Upon review of the petition, the Court hereby ORDERS as follows:

        1.      The clerk of this court shall serve a copy of the petition upon respondents and the

United States Attorney for the District of Massachusetts.

        2.      Respondents shall, no later than March 25, 2025, answer or respond to the

petition.

        3.      Although a United States District Court does not generally have subject-matter

jurisdiction to review orders of removal, see 8 U.S.C. § 1252(a)(1), (g), it does generally have
jurisdiction over habeas petitions. See 28 U.S.C. § 2241(a). Furthermore, a federal court

“always has jurisdiction to determine its own jurisdiction,” including its own subject-matter

jurisdiction. Brownback v. King, 592 U.S. 209, 218-19 (2021) (quoting United States v. Ruiz,

536 U.S. 622, 628 (2002)). In order to give the court an opportunity to consider whether it has

subject-matter jurisdiction, and if so to determine the validity of the habeas petition, the court

may order respondent to preserve the status quo. See United States v. United Mine Workers of

Am., 330 U.S. 258, 293 (1947) (“[T]he District Court ha[s] the power to preserve existing

conditions while it [is] determining its own authority to grant injunctive relief,” unless the

assertion of jurisdiction is frivolous.). Such an order is valid unless and until it is overturned,

even when the issuing court lacks subject-matter jurisdiction to determine the merits of the

underlying action. See id. at 294-95 (upholding criminal contempt convictions for violations of a

preliminary injunction, assuming the District Court had no jurisdiction to decide the underlying

matter). This principle applies with even greater force where the action the court enjoins would

otherwise destroy its jurisdiction or moot the case. See United States v. Shipp, 203 U.S. 563, 573

(1906).

          4.   Accordingly, and unless otherwise ordered by the Court, the petitioners shall not

be moved outside the District of Massachusetts without first providing advance notice of the

intended move. Such notice shall be filed in writing on the docket in this proceeding, and shall

state the reason why the government believes that such a movement is necessary and should not

be stayed pending further court proceedings. Once that notice has been docketed, the petitioner

shall not be moved out of the District for a period of at least 48 hours from the time of that

docketing. If the 48-hour notice period “would end on a Saturday, Sunday, or legal holiday, the

period continues to run until the same time on the next day that is not a Saturday, Sunday, or



                                                   2
legal holiday.” Fed. R. Civ. P. 6(a)(2)(C). The time period may be shortened or extended as

may be appropriate by further order of the Court.

So Ordered.


                                                    /s/ Brian Murphy
Dated: March 23, 2025                               District Judge, United States District Court




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